             AO 245B                                (Rev. 09/19) Judgment in a Criminal Case
                                                    Sheet 1
Cover Page
             [LastName] william brian marsan JN C
             AO 245B                                Judgment in a Criminal Case




                                                                                                UNITED STATES DISTRICT COURT
                                                                                                                   District of Alaska
                                                    UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
                                                               v.                                                             (For Probation)
                                                     WILLIAM BRIAN MARSAN                                                     Case Number:            3:24-CR-00071-001-VMK
                                                                                                                              USM Number:             26437-511
                                                                                                                              Ben W. Muse
                                                                                                                              Defendant’s Attorney
             THE DEFENDANT:
             ☐ pleaded guilty to count(s)
              ☐ pleaded nolo contendere to count(s)
                which was accepted by the court.
              ☒ was found guilty on count(s) 1 and 2 of the Indictment (Dkt. 2)
                after a plea of not guilty.
             The defendant is adjudicated guilty of these offenses:
             Title & Section                                                                     Nature of Offense                                                Offense Ended   Count
             49 U.S.C. § 46306(b)(7)                                                             Operating Aircraft without Airman Certificate                     07/16/2024       1
             49 U.S.C. § 49306(b)(6)(A)                                                          Operating Unregistered Aircraft                                   07/16/2024         2


             The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
             Sentencing Reform Act of 1984.
              ☒ The defendant has been found not guilty on count(s) 3 of the Indictment (Dkt. 3)
              ☐ Count(s)
                                                                                  ☐ is ☐ are dismissed on the motion of the United States.
             It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
             or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
             restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.

                                                                                                                            4/2/2025
                                                                                                                            Date of Imposition of Judgment




                                                                                                                            Signature of Judge

                                                                                                                            Virginia M. Kendall, Chief United States District Judge
                                                                                                                            Name and Title of Judge

                                                                                                                           4/9/2025
              Sheet 1
                                                                                                                            Date




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                       AO 245B                      (Rev. 09/19) Judgment in a Criminal Case
                                                    Sheet 4 — Probation

                                                                                                                                                   Judgment — Page 2 of 6
                       DEFENDANT:                                   WILLIAM BRIAN MARSAN
                       CASE NUMBER:                                 3:24-CR-00071-001-VMK
Probation




                                                                                               PROBATION
                       Sheet 4 — Probation




                       You are hereby sentenced to probation for a term of:

                           3 YEARS

Mandatory Conditions




                                                                                          MANDATORY CONDITIONS

                       1.                    You must not commit another federal, state or local crime.
                       2.                    You must not unlawfully possess a controlled substance.
                       3.                    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
                                             of placement on probation and at least two periodic drug tests thereafter, as determined by the court.
                                                  ☒ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
                                                    substance abuse. (check if applicable)
                       4.                    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
                       5.                    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
                                               as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
                                               where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
                       6.                    ☐ You must participate in an approved program for domestic violence. (check if applicable)
                       7.                    ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.
                                                 (check if applicable)

                       8.                    ☒ You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
                       9.                    ☒ If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
            10.                              ☐ You must notify the court of any material change in your economic circumstances that might affect your ability to
                                               pay restitution.


                       You must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
                       on the attached pages.




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                       AO 245B                        (Rev. 09/19) Judgment in a Criminal Case
                                                      Sheet 4A – Probation

                                                                                                                                                     Judgment — Page 3 of 6
                       DEFENDANT:                                   WILLIAM BRIAN MARSAN
                       CASE NUMBER:                                 3:24-CR-00071-001-VMK
Standa rd Conditions




                       Sheet 4A – Probatio n
                                                                              STANDARD CONDITIONS OF SUPERVISION
                       As part of your probation, you must comply with the following standard conditions of supervision. These conditions are
                       imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
                       needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
                       condition.
                       1.                      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
                                               of the time you were sentenced, unless the probation officer instructs you to report to a different probation office or
                                               within a different time frame.
                       2.                      After initially reporting to the probation office, you will receive instructions from the court or the probation officer
                                               about how and when you must report to the probation officer, and you must report to the probation officer as instructed.
                       3.                      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
                                               permission from the court or the probation officer.
                       4.                      You must answer truthfully the questions asked by your probation officer.
                       5.                      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
                                               living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
                                               change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
                                               the probation officer within 72 hours of becoming aware of a change or expected change.
                       6.                      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
                                               probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
                                               view.
                       7.                      You may perform community work service in lieu of full-time or part-time employment. You must notify the probation
                                               officer at least 10 days before any changes to the location of where your community work service is being performed.
                                               If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you
                                               must notify the probation officer within 72 hours of becoming aware of a change or expected change.

                       8.                      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
                                               has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
                                               the permission of the probation officer.
                       9.                      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
          10.                                  You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
                                               anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
                                               such as nunchakus or tasers).
          11.                                  You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                                               informant without first getting the permission of the court.
          12.                                  If the probation officer determines that you pose a risk to another person (including an organization), the probation
                                               officer may require you to notify the person about the risk and you must comply with that instruction. The probation
                                               officer may contact the person and confirm that you have notified the person about the risk.
          13.                                  You must follow the instructions of the probation officer related to the conditions of supervision.




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                                                    Sheet 4D – Probation

                                                                                                                                               Judgment — Page 4 of 6
                     DEFENDANT:                                   WILLIAM BRIAN MARSAN
                     CASE NUMBER:                                 3:24-CR-00071-001-VMK
Special Conditions




                     Sheet 4D – Probatio n
                                                                              SPECIAL CONDITIONS OF SUPERVISION

                     1.                      You must pay any fine or restitution in accordance with the Court's orders.
                     2.                      During the term of supervision, you may not operate any aircraft without the proper licensing, medical certificate, or
                                             registration.
                                                  //////////////////////////////////////////////////////////////////////////////////////////////////////

                     U.S. Probation Office Use Only

                     A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
                     of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
                     and Supervised Release Conditions, available at www.uscourts.gov.


                     Defendant’s Signature                                                                                 Date




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                         AO 245B                            (Rev. 09/19) Judgment in a Criminal Case
                                                            Sheet 5 — Criminal Monetary Penalties

                                                                                                                                                          Judgment — Page 5 of 6
                         DEFENDANT:                                       WILLIAM BRIAN MARSAN
                         CASE NUMBER:                                     3:24-CR-00071-001-VMK
Crimina l Moneta ry Pena lties




                                                                                           CRIMINAL MONETARY PENALTIES
                                                    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                                                                                                AVAA                  JVTA
          Sheet 5 — Criminal M onetary Penalties




                                                                  Assessment                Restitution        Fine             Assessment*           Assessment**
          TOTALS                                                $ 200.00                    N/A              $ 10,000           N/A                   N/A

          ☐ The determination of restitution is deferred until                                                          . An Amended Judgment in a Criminal Case (AO 245C)
            will be entered after such determination.

          ☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                                   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
                                                   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
                                                   all nonfederal victims must be paid before the United States is paid.


                     Name of Payee                                                                 Total Loss***          Restitution Ordered      Priority or Percentage




                     TOTALS                                                                               $ 0.00                      $ 0.00

              ☐ Restitution amount ordered pursuant to plea agreement                                              $

              ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
                Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
              ☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                                   ☐ the interest requirement is waived for the ☐ fine ☐ restitution
                                                   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:




              *   Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
              ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
              *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
                  committed on or after September 13, 1994, but before April 23, 1996.




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                   AO 245B                                  (Rev. 09/19) Judgment in a Criminal Case
                                                            Sheet 6 — Schedule of Payments

                                                                                                                                                                      Judgment — Page 6 of 6
                   DEFENDANT:                                             WILLIAM BRIAN MARSAN
                   CASE NUMBER:                                           3:24-CR-00071-001-VMK
ule of Payment s




                   Sheet 6 — Schedule of Payments
                                                                                                   SCHEDULE OF PAYMENTS
                   Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

                   A ☒                                  Lump sum payment of $10,200.00                        due immediately, balance due
                                                          ☐ not later than                             , or
                                                          ☒ In accordance with ☐ C, ☐ D, ☐ E, or ☒ F below; or
                   B ☐                                  Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

                   C ☐                                  Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period
                                                        of                   (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this
                                                        judgment; or

                   D ☐                                  Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period
                                                        of                   (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
                                                        imprisonment to a term of supervision; or

                   E ☐ Payment during the term of supervised release will commence within                                               (e.g., 30 or 60 days) after release from
                                                        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

                   F ☒                                  Special instructions regarding the payment of criminal monetary penalties:

                                                        Any unpaid amount is to be paid during the period of incarceration at a rate of 50% of wages earned while in the custody of the
                                                        Bureau of Prisons and during the period of supervision in monthly installments of not less than 10% of the defendant’s gross
                                                        monthly income or $25, whichever amount is greater.

                   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
                   due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
                   Prisons’ Inmate Financial Responsibility Program are made to the United States District Court, District of Alaska. For restitution
                   payments, the Clerk of the Court is to forward money received to the party(ies) designated to receive restitution specified on the Criminal
                   Monetary Penalties (Sheet 5) page.

                   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

                   ☐ Joint and Several
                                                    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
                                                    and corresponding payee, if appropriate.


                   ☐ The defendant shall pay the cost of prosecution.
                   ☐ The defendant shall pay the following court cost(s):

                   ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:

                   Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
                   (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
                   prosecution and court costs.




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